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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   COX COMMUNICATIONS, INC., et al., )
                                     )
             Plaintiffs,             )
                                     )
        v.                           )           C.A. No. 12-487-SLR
                                     )
   SPRINT COMMUNICATIONS             )
   COMPANY L.P., et al.,             )
                                     )
             Defendants.             )

                                    NOTICE OF SERVICE

         PLEASE TAKE NOTICE that, on June 13, 2017, copies of the (1) Expert Report of Scott

  Bradner Regarding the Invalidity of U.S. Patents Nos. 6,452,932, 6,463,052, 6,633,561 and

  7,286,561; (2) Supplemental Expert Report of Paul S. Min, Ph.D.; and (3) Expert Report Of Dr.

  Kevin Almeroth on Invalidity of U.S. Patent Nos. 6,452,932, 6,463,052, 6,633,561, 7,286,561,

  6,298,064 and 6,473,429 were served on the following counsel via electronic means:

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